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 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK

                                                    Chapter 7
 In re:
                                                    Case No. 24-10531
 PRIME CAPITAL VENTURES, LLC

                                 Debtor.


                        NOTICE OF APPEARANCE AND DEMAND
                        FOR NOTICES AND SERVICE OF PAPERS

          TAKE NOTICE THAT, pursuant to Rules 2001, 9007 and 9010(b) of the Bankruptcy

Rules, the undersigned requests on behalf of Christian H. Dribusch, Chapter 7 Trustee to the

bankruptcy estate of Kris Daniel Roglieri, that all notices given or required to be given in this case

and all papers served or required to be served in this case be given to and served upon Christian

H. Dribusch, Esq., 187 Wolf Road, Albany, NY 12205 (cdribusch@chd-law.com)

          TAKE FURTHER NOTICE THAT, the foregoing request includes the notices and

papers referred to in Rule 2002 of the Bankruptcy Rules and also includes, without limitation, any

plan of reorganization and objections thereto, notices of any orders, pleadings, motions,

applications, complaints, demands, hearings, requests, petitions, disclosure statements, answering

or reply papers, memoranda and briefs and plan in support of any of the foregoing and any other

document brought before this Court with respect to these proceedings, whether formal or informal,

whether written or oral, and whether transmitted or conveyed by mail, delivery, telephone,

telegraph, telex or otherwise.
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       TAKE FURTHER NOTICE THAT, the undersigned hereby respectfully demands that

the name and address set forth herein be added to the mailing matrix in this case.

Dated: May 16, 2024


                                                          /s/ Christian H. Dribusch
                                                          Christian H. Dribusch, Esq.
                                                          cdribusch@chd-law.com




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